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 5   Attorneys for Defendant
     FRANCES MORADA
 6

 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       CASE NO. S-03-376-DFL

12                                                   STIPULATION AND PROPOSED
                 Plaintiff,                          ORDER REGARDING STATUS
13                                                   CONFERENCE CONTINUANCE
           vs.
14
     FRANCES MORADA,
15   LILY MIZRAHE

16               Defendants.
                                            /
17
           Defendant Frances Morada, through her counsel of record, Malcolm Segal
18
     and Defendant Lily Mizrahe, through her counsel of record, Bruce Locke, and plaintiff
19
     United States of America, through its counsel, Assistant United States Attorney
20
     Daniel S. Linhardt, agree and stipulate that the status conference set for September
21
     15, 2005 may be continued to November 17, 2005 at 10:00 AM, in order to permit
22
     the parties to further investigate, review and discuss the case regarding future
23
     proceedings. This case continues to be complex within the meaning of the Speedy
24
     Trial Act due to the volume of discovery, complexity of the legal and factual issues,
25
     and the need of counsel to conduct independent investigations.
26
           Accordingly, the time between the scheduled court appearance on September
27
     15, 2005 and the status conference on November 17, 2005 should continue to be
28

                                                1
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 1   excluded from the calculation of time pursuant to the Speedy Trial Act, due to

 2   complexity and counsels’ need to prepare. 18 U.S.C. §3161 (h) (8) (B) (ii) and (iv)

 3   [Local Codes T2/T4].

 4

 5   Dated: September 8, 2005                  SEGAL & KIRBY

 6

 7
                                           By: /s/ Malcolm S. Segal
 8                                            MALCOLM S. SEGAL
                                              Counsel for Defendant Frances Morada
 9

10

11   Dated: September 8, 2005                  MOSS & LOCKE

12

13

14                                         By:_ /s/ Bruce Locke_____________________
                                              BRUCE LOCKE
15                                            Counsel for Defendant Lily Mizrahe

16

17
     Dated: September 8, 2005
18

19                                         By:_ /s/ Daniel S. Linhardt   ____________
                                              DANIEL S. LINHARDT
20                                            Assistant United States Attorney

21

22   IT IS SO ORDERED.

23
     Dated: 9/9/2005
24
                                           /s/ David F. Levi
25                                         HONORABLE DAVID F. LEVI
                                           Chief Judge, United States District Court
26

27

28

                                               2
